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 7                    IN THE UNITED STATES DISTRICT COURT FOR THE
 8                             EASTERN DISTRICT OF CALIFORNIA
 9
10      UNITED STATES OF AMERICA,           )               NO. 1:08-CR-00137-AWI
                                            )
11                        Plaintiff,        )               ORDER VACATING HEARING
                                            )               DATE, AND CONTINUING CASE
12            v.                            )
                                            )
13      VICTOR BUITRON LOPEZ,               )
                                            )
14                        Defendant.        )
        ____________________________________)
15
16
            Pursuant to the stipulation filed by the parties on September 3, 2009, the status
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     conference in the above-entitled matter is continued to September 28, 2009, at 9:00 a.m., so that
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     counsel for the defendant can be present due to being out of state.
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              Therefore, IT IS HEREBY ORDERED that the previously set hearing date of September
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     8, 2009, is VACATED, and the hearing on this matter is reset to September 28, 2009, at 9:00
21
     a.m.
22
23
24
     IT IS SO ORDERED.
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     Dated:     September 4, 2009                      /s/ Anthony W. Ishii
26   0m8i78                                   CHIEF UNITED STATES DISTRICT JUDGE
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